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 6
     Attorney for Plaintiff United States of America
 7   for the use and benefit of
 8   Mountain Utilities, Inc.

 9

10                    IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF IDAHO
11

12
     UNITED STATES OF AMERICA, for the             Case No.
13   use and benefit of MOUNTAIN
14   UTILITIES, INC., a Washington
     corporation,
15                                                 COMPLAINT:
16                            Plaintiff,             (1) AGAINST MILLER ACT
                                                         BOND; AND
17   vs.                                             (2) FOR DAMAGES FOR
18                                                       BREACH OF CONTRACT
     FIDELITY AND DEPOSIT COMPANY
19
     OF MARYLAND, an Illinois corporation;         AND JURY DEMAND
20   ZURICH AMERICAN INSURANCE
     COMPANY, a New York corporation;
21
     AMERICAN HOME ASSURANCE
22   COMPANY, a New York corporation;
     WOOD ENVIRONMENT &
23
     INFRASTRUCTURE SOLUTIONS, INC.,
24   a Nevada corporation; AMEC FOSTER
     WHEELER ENVIRONMENT &
25
     INFRASTRUCTURE, INC., a Nevada
26   corporation; ANDERSON


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                                                          LAW OFFICE OF JOHN H. GUIN, PLLC
     BOND; AND (2) FOR DAMAGES FOR
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 1   ENVIRONMENTAL CONTRACTING,
 2   LLC, a Washington limited liability
     company,
 3

 4                              Defendants.

 5

 6
           MOUNTAIN UTILITIES, INC. (“Mountain Utilities”), Use Plaintiff herein,
 7

 8   files this COMPLAINT against defendants FIDELITY AND DEPOSIT
 9   COMPANY OF MARYLAND (“Fidelity”); ZURICH AMERICAN INSURANCE
10
     COMPANY (“Zurich”); AMERICAN HOME ASSURANCE COMPANY
11

12   (“American”)     (collectively    “Sureties”);    WOOD         ENVIRONMENT                 &
13   INFRASTRUCTURE             SOLUTIONS,      INC.     (“Wood”);        AMEC            FOSTER
14
     WHEELER ENVIRONMENT & INFRASTRUCTURE, INC. (“AMEC”); and
15

16   ANDERSON ENVIRONMENTAL CONTRACTING, LLC (“Anderson”).
17
                           I.     JURISDICTION AND VENUE
18
           1.     Mountain Utilities’ First Claim for Relief is brought pursuant to 40
19

20   U.S.C. § 3131 through 40 U.S.C. § 3134, commonly known as the Miller Act.
21
     Pursuant to 28 U.S.C. § 1331, this Court therefore has jurisdiction over this action.
22
     Also, this is an action on a payment bond under the Miller Act, and pursuant to 28
23

24   U.S.C. § 1352, this Court has jurisdiction over this action.
25

26


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 1          2.     Mountain Utilities’ Second Claim for Relief is brought pursuant to 28
 2
     U.S.C. § 1367(a) on the basis of supplemental jurisdiction, because the Miller Act
 3

 4   claim and the state-law breach of contract claim arise from the same construction

 5   project and form part of the same case or controversy.
 6
            3.     This civil action relates to the project known as the Bunker Hill
 7

 8   Central Treatment Plant Upgrade Project (Contract No. W912DW-16-C-0012)

 9   (“Project”). All or a substantial part of the events giving rise to the claims in this
10
     action occurred in this judicial district, a substantial part of the Project is situated in
11

12   this judicial district, and the contract at issue was substantially performed in this
13   judicial district. Accordingly, venue is proper in this Court pursuant to 28 U.S.C. §
14
     1391(b)(2) and 40 U.S.C. § 3133(b)(3).
15

16                                       II.    PARTIES
17          4.     Mountain Utilities is a Washington corporation with its principal
18
     place of business at 10212 N. Waikiki Road, Spokane, Washington. Mountain
19

20   Utilities is a licensed contractor and is authorized to transact business in the State
21
     of Idaho. Mountain Utilities has satisfied all conditions necessary to maintain this
22
     action.
23

24

25

26


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 1         5.     Defendant Fidelity is a foreign insurance company with its principal
 2
     place of business in the State of Illinois. At all times material hereto, Fidelity was
 3

 4   transacting business in this judicial district.

 5         6.     Defendant Zurich is a foreign insurance company with its principal
 6
     place of business in the State of New York. At all times material hereto, Zurich
 7

 8   was transacting business in this judicial district.

 9         7.     Defendant American is a foreign insurance company with its principal
10
     place of business in the State of New York. At all times material hereto, American
11

12   was transacting business in this judicial district.
13         8.     Defendant Wood is a Nevada corporation with its principal place of
14
     business at 751 Arbor Way, Suite 180, Blue Bell, Pennsylvania. At all times
15

16   material hereto, Wood was transacting business in this judicial district.
17         9.     Defendant AMEC is a Nevada corporation with its principal place of
18
     business at 751 Arbor Way, Suite 180, Blue Bell, Pennsylvania. At all times
19

20   material hereto, AMEC was transacting business in this judicial district.
21
           10.    Defendant Anderson is a Washington limited liability company with
22
     its principal place of business at 705 Colorado Street, Kelso, Washington. At all
23

24   time material hereto, Anderson was transacting business in this judicial district.
25

26


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 1                          III.   GENERAL ALLEGATIONS
 2
           11.   Mountain Utilities incorporates by reference each and every allegation
 3

 4   contains in paragraphs 1 through 7 above.

 5         12.   AMEC is party to a written contract (hereinafter, the “Main
 6
     Contract”) with the United States Army Corps of Engineers (“USACE”) and
 7

 8   agreed to furnish all labor, materials, and equipment and to perform all work

 9   required for the construction, alteration, or repair of the Project, which work was
10
     and is a public building or public work within the meaning of 40 U.S.C. § 3134
11

12   (hereinafter, the “Miller Act”).   Based on information and belief, Wood is a
13   successor in interest to AMEC and is also party to the Main Contract.
14
           13.   Based on information and belief, pursuant to the Miller Act,
15

16   defendants Wood/AMEC, as principal, and defendants Fidelity, Zurich, and
17   American, as sureties, executed that certain payment bond identified as Bond No.
18
     9238608 / 931071 (the “Miller Act Bond”), under which Wood/AMEC and
19

20   Fidelity, Zurich, and American, in their respective capacities as principal and
21
     surety, bound themselves, jointly and severally, to the United States of America,
22
     for the penal sum of $48,409,58.47, guaranteeing payment to a certain class of
23

24   persons, including Mountain Utilities, who furnished labor, materials, or both in
25
     the prosecution of the work on the Project.
26


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 1         14.    The Miller Act Bond was delivered to the USACE and accepted by it.
 2
           15.    Wood/AMEC is party to a written subcontract agreement with
 3

 4   Anderson, by the terms of which Anderson agreed to furnish certain labor,

 5   materials, and equipment and to perform a portion of site civil work required for
 6
     the construction, alteration, or repair of the Project.
 7

 8         16.    On or about June 20, 2018, Mountain Utilities and Anderson entered

 9   into a sub-subcontract (“Sub-Subcontract”), by the terms of which Mountain
10
     Utilities agreed to furnish certain labor, materials, and equipment and to perform a
11

12   portion of the site utility scope of work for the Project.
13         17.    Of the total amount due for the labor, materials, and equipment
14
     furnished by Mountain Utilities under the Sub-Subcontract and incorporated into
15

16   the Project, the sum of $254,597.28 is due, owing, and unpaid, exclusive of
17   interest, costs, attorney’s fees, and suspension of work costs.
18
           18.    Within 90 days of the last date of furnishing labor or materials,
19

20   Mountain Utilities provided notice under 40 U.S.C. § 3133(b)(2) to Wood/AMEC,
21
     in writing and with third-party verification of delivery, at the place where
22
     Wood/AMEC entertains an office or conducts business.
23

24

25

26


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 1         19.    More than 90 days and less than one year has elapsed from the date in
 2
     which Mountain Utilities last furnished labor and material in the prosecution of the
 3

 4   work to the date of filing of this action.

 5         20.    Work on the project has been under a suspension of indefinite
 6
     duration since December 2018. As a result, Mountain Utilities has incurred and
 7

 8   continues to incur suspension of work costs, in an amount yet to be determined.

 9                               IV.    CAUSES OF ACTION
10
                                First Claim for Relief:
11      Action on Miller Act Payment Bond against Defendants Fidelity, Zurich,
12                           American, Wood, and AMEC
13         21.    Mountain Utilities incorporates by reference each and every allegation
14
     contains in paragraphs 1 through 20 above.
15

16         22.    Mountain Utilities is a proper claimant under the Miller Act Bond.
17         23.    Under the Miller Act, defendants Wood/AMEC, as principal, and
18
     defendants Fidelity, Zurich, and American, as sureties, executed the Miller Act
19

20   Bond, as required by the Miller Act, under which Wood/AMEC and Fidelity,
21
     Zurich, and American, in their respective capacities as principal and surety bound
22
     themselves, jointly and severally, to the United States of America.
23

24         24.    The Miller Act Bond was delivered to the USACE and accepted by it.
25

26


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 1         25.    Mountain Utilities, in accordance with its Sub-Subcontract, provided
 2
     to Anderson all labor, materials, and equipment to perform the work required by
 3

 4   the Sub-Subcontract.     Mountain Utilities fully and timely provided all work

 5   required, at Anderson’s direction and with its knowledge. The work performed by
 6
     Anderson was required under the terms of the contract between Wood/AMEC and
 7

 8   the United States and for the prosecution of the work.

 9         26.    Of the total amount due for the labor, materials, and equipment
10
     provided by Mountain Utilities under its Sub-Subcontract and incorporated into the
11

12   Project, the sum of $254,597.28 is due, owing, and unpaid, exclusive of interest,
13   costs, attorney’s fees, and suspension of work costs.
14
           27.    Defendants Wood/AMEC and Fidelity, Zurich, and American are
15

16   obligated under the Miller Act Bond to pay Mountain Utilities, as claimant, for its
17   Sub-Subcontract work on the Project.
18
           28.    Despite receiving notice, defendants Wood/AMEC, as principal,
19

20   failed to promptly make payment to Mountain Utilities for the work performed and
21
     incorporated into the Project.
22
           29.    Mountain Utilities has performed all terms and conditions of its Sub-
23

24   Subcontract and the Miller Act Bond and has made demand for payment. Despite
25
     its demand, payment has not been made to Mountain Utilities.
26


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 1         30.    Accordingly, defendants Wood/AMEC and Fidelity, Zurich, and
 2
     American breached the Miller Act Bond, and as a result, defendants Wood/AMEC
 3

 4   and Fidelity, Zurich, and American are liable, jointly and severally, to Mountain

 5   Utilities under the Miller Act and the Miller Act Bond for an amount to be
 6
     determined at the time of trial, but no less than $254,597.28, together with
 7

 8   allowable costs, disbursements, interest, and attorney fees.

 9                             Second Claim for Relief:
10                 Action on Subcontract against Defendant Anderson
11         31.    Mountain Utilities incorporates by reference each and every allegation
12
     contains in paragraphs 1 through 30 above.
13

14         32.    Mountain Utilities, in accordance with its Sub-Subcontract, provided
15   to Anderson all labor, materials, and equipment to perform the work required by
16
     the Sub-Subcontract.     Mountain Utilities fully and timely provided all work
17

18   required, at Anderson’s direction and with its knowledge.
19
           33.    Mountain Utilities has performed all terms and conditions of its Sub-
20
     Subcontract and has made demand for payment. Despite its demand, payment has
21

22   not been made to Mountain Utilities.
23
           34.    Accordingly, defendant Anderson breached the Sub-Subcontract, and
24
     as a result, defendant Anderson is liable to Mountain Utilities under the Sub-
25

26   Subcontract for an amount to be determined at the time of trial, but no less than


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 1   $254,597.28, together with allowable costs, disbursements, interest, and attorney
 2
     fees.
 3

 4                                      JURY DEMAND

 5           Pursuant to Federal Rule of Civil Procedure 38, Use Plaintiff Mountain
 6
     Utilities, Inc. hereby demands a trial by jury in the above-captioned action of all
 7

 8   issues triable by jury.

 9                                REQUEST FOR RELIEF
10
             WHEREFORE, Mountain Utilities requests that the Court provide relief as
11

12   follows:
13           1.    For judgment against defendants Wood, AMEC, Fidelity, Zurich, and
14
                   American, jointly and severally, in an amount to be proven at the time
15

16                 of trial, but no less than $254,597.28, plus ongoing suspension of
17                 work damages, together with allowable costs, disbursements, interest,
18
                   and attorney fees.
19

20           2.    For judgment against defendant Anderson, in an amount to be proven
21
                   at the time of trial, but no less than $254,597.28, plus ongoing
22
                   suspension of work damages, together with allowable costs,
23

24                 disbursements, interest, and attorney fees.
25

26


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 1       3.    For such other relief as the Court deems just and equitable.
 2
         DATED this 26th day of July, 2019.
 3

 4

 5                                             /s/ John H. Guin
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12                                       America for the use and benefit of
                                         Mountain Utilities, Inc
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                                                         LAW OFFICE OF JOHN H. GUIN, PLLC
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